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11
     Attorneys for Plaintiff
12   FURY TECHNOLOGIES LLC
13
                     IN THE UNITED STATES DISTRICT COURT
14
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA

16   FURY TECHNOLOGIES LLC,
                                                   Civil Action No.:
17
                 Plaintiff,
18
           v.                                      TRIAL BY JURY DEMANDED
19
20   DJI TECHNOLOGY, INC.,
21
                 Defendant.
22
23
                   COMPLAINT FOR INFRINGEMENT OF PATENT

24         Now comes Plaintiff, Fury Technologies LLC (“Plaintiff” or “Fury”), by and
25
     through undersigned counsel, and respectfully alleges, states, and prays as follows:
26
27
28
                                               1
                              COMPLAINT FOR INFRINGEMENT OF PATENT
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 1                              NATURE OF THE ACTION

 2         1.     This is an action for patent infringement under the Patent Laws of the
 3
     United States, Title 35 United States Code (“U.S.C.”) to prevent and enjoin
 4
 5   Defendant DJI Technology, Inc. (hereinafter “Defendant”), from infringing and

 6   profiting, in an illegal and unauthorized manner, and without authorization and/or
 7
     consent from Plaintiff from U.S. Patent No 8,965,598 (“the ‘598 Patent”) and U.S.
 8
 9   Patent No. 9,352,833 (“the ‘833 Patent”) (collectively the “Patents-in-Suit”), which

10   are attached hereto as Exhibits A and B, respectively, and incorporated herein by
11
     reference, and pursuant to 35 U.S.C. §271, and to recover damages, attorney’s fees,
12
13   and costs.

14                                      THE PARTIES
15
           2.     Plaintiff is a Texas limited liability company with its principal place of
16
17   business at 6009 West Parker Road – Suite 149-1089, Plano, Texas 75093.
18         3.     Upon information and belief, Defendant is a corporation organized
19
     under the laws of California, having a principal place of business at 201 South
20
21   Victory Boulevard, Burbank, California 91502. Upon information and belief,
22   Defendant may be served with process c/o CT Corporation System, 818 West
23
     Seventh Street – Suite 930, Los Angeles, California 90017.
24
25         4.     Plaintiff is further informed and believes, and on that basis alleges, that
26   Defendant operates the website enterprise.dji.com. Defendant derives a portion of
27
     its revenue from sales and distribution via electronic transactions conducted on and
28
                                                2
                            COMPLAINT FOR INFRINGEMENT OF PATENT
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 1   using at least, but not limited to, its Internet website located at enterprise.dji.com,

 2   and its incorporated and/or related systems (collectively the “DJI Website”).
 3
     Plaintiff is informed and believes, and on that basis alleges, that, at all times relevant
 4
 5   hereto, Defendant has done and continues to do business in this judicial district,

 6   including, but not limited to, providing products/services to customers located in
 7
     this judicial district by way of the DJI Website.
 8
 9                              JURISDICTION AND VENUE

10          5.     This is an action for patent infringement in violation of the Patent Act
11
     of the United States, 35 U.S.C. §§1 et seq.
12
13          6.     The Court has subject matter jurisdiction over this action pursuant to 28

14   U.S.C. §§1331 and 1338(a).
15
            7.     This Court has personal jurisdiction over Defendant by virtue of its
16
17   systematic and continuous contacts with this jurisdiction and its residence in this
18   District, as well as because of the injury to Plaintiff, and the cause of action Plaintiff
19
     has risen in this District, as alleged herein.
20
21          8.     Defendant is subject to this Court’s specific and general personal
22   jurisdiction pursuant to its substantial business in this forum, including: (i) at least a
23
     portion of the infringements alleged herein; (ii) regularly doing or soliciting
24
25   business, engaging in other persistent courses of conduct, and/or deriving substantial
26   revenue from goods and services provided to individuals in this forum state and in
27
     this judicial District; and (iii) being incorporated in this District.
28
                                                  3
                              COMPLAINT FOR INFRINGEMENT OF PATENT
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 1         9.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1400(b)

 2   because Defendant resides in this District under the Supreme Court’s opinion in TC
 3
     Heartland v. Kraft Foods Group Brands LLC, 137 S. Ct. 1514 (2017) through its
 4
 5   incorporation, and regular and established place of business in this District.

 6                                   FACTUAL ALLEGATIONS
 7
           10.    On February 24, 2015, the United States Patent and Trademark Office
 8
 9   (“USPTO”) duly and legally issued the ‘598 Patent, entitled “AUTOMATIC

10   FLIGHT CONTROL FOR UAV BASED SOLID MODELING” after a full and fair
11
     examination. The ‘598 Patent is attached hereto as Exhibit A and incorporated
12
13   herein as if fully rewritten.

14         11.    Plaintiff is presently the owner of the ‘598 Patent, having received all
15
     right, title and interest in and to the ‘598 Patent from the previous assignee of
16
17   record. Plaintiff possesses all rights of recovery under the ‘598 Patent, including the
18   exclusive right to recover for past infringement.
19
           12.    To the extent required, Plaintiff has complied with all marking
20
21   requirements under 35 U.S.C. § 287.
22         13.    The invention claimed in the ‘598 Patent comprises an automatic
23
     unmanned aerial vehicle (UAV) flight control system for solid modeling.
24
25         14.    Claim 1 of the ‘598 Patent recites an automatic aerial vehicle (UAV)
26   flight control system for solid modeling.
27
           15.    Claim 1 of the ‘598 Patent states:
28
                                                 4
                              COMPLAINT FOR INFRINGEMENT OF PATENT
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 1                        “1. An automatic unmanned aerial vehicle (UAV) flight
                    control system for Solid modeling, the system comprising:
 2
                          a UAV with an onboard camera;
 3                        a controller capable of communication with a flight control
 4                            module of the UAV, the controller configured to:
                              determine an initial movement path based on an estimate
 5
                                of a structure to be modeled;
 6                        capture images of the structure to be modeled;
 7                        form surface hypotheses for unobserved surfaces based
                              on the captured images;
 8
                          determine missing Surface information from the Surface
 9                            hypotheses; and
10                        determine a least impact path for the UAV based on the
11                            missing Surface information and desired flight param-
                              eters.” See Exhibit A.
12
13         16.      Defendant commercializes, inter alia, methods that perform all the steps
14
     recited in at least one claim of the ‘598 Patent. More particularly, Defendant
15
     commercializes, inter alia, methods that perform all the steps recited in Claim 1 of
16
17   the ‘598 Patent. Specifically, Defendant makes, uses, sells, offers for sale, or
18
     imports a UAV device that encompasses that which is covered by Claim 1 of the
19
     ‘598 Patent.
20
21         17.      On May 31, 2016, the United States Patent and Trademark Office
22
     (“USPTO”) duly and legally issued the ‘833 Patent, entitled “AUTOMATIC
23
24
     FLIGHT CONTROL FOR UAV BASED SOLID MODELING” after a full and fair

25   examination. The ‘833 Patent is attached hereto as Exhibit B and incorporated
26
     herein as if fully rewritten.
27
28
                                                5
                              COMPLAINT FOR INFRINGEMENT OF PATENT
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 1         18.    Plaintiff is presently the owner of the ‘833 Patent, having received all

 2   right, title and interest in and to the ‘833 Patent from the previous assignee of
 3
     record. Plaintiff possesses all rights of recovery under the ‘833 Patent, including the
 4
 5   exclusive right to recover for past infringement.

 6         19.    To the extent required, Plaintiff has complied with all marking
 7
     requirements under 35 U.S.C. § 287.
 8
 9         20.    The invention claimed in the ‘833 Patent comprises an automatic

10   unmanned aerial vehicle (UAV) flight control system for solid modeling.
11
           21.    Claim 11 of the ‘833 Patent recites an unmanned aerial vehicle (UAV)
12
13   system for 3D modeling.

14         22.    Claim 11 of the ‘833 Patent states:
15
                       “11. An unmanned aerial vehicle (UAV) system for 3D
16
                  modeling, the system comprising:
17                     a UAV capable of communication with a controller, the
18                        UAV configured to:
                       receive an initial movement path from the controller,
19
                          wherein the initial movement path is based on an
20                        estimate of a structure to be modeled;
21                     capture one or more images of the structure to be mod-
                          eled, wherein the one or more images are captured by
22
                          one or more cameras onboard the UAV:
23                     transmit the captured one or more images to the control-
24                        ler, wherein the captured one or more images are used
25                        to form a surface hypotheses for unobserved surfaces,
                          and wherein missing surface information is deter-
26
                          mined from the surface hypotheses; and
27                     receive a least impact path for the UAV from the con-
28
                                               6
                            COMPLAINT FOR INFRINGEMENT OF PATENT
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 1                            troller, wherein the least impact path is based on the
                              missing surface information and desired flight param-
 2
                              eters.” See Exhibit B.
 3
 4         23.      Defendant commercializes, inter alia, methods that perform all the steps

 5   recited in at least one claim of the ‘833 Patent. More particularly, Defendant
 6
     commercializes, inter alia, methods that perform all the steps recited in Claim 11 of
 7
 8   the ‘833 Patent. Specifically, Defendant makes, uses, sells, offers for sale, or
 9   imports a UAV device that encompasses that which is covered by Claim 11 of the
10
     ‘833 Patent.
11
12                               DEFENDANT’S PRODUCT(S)
13         24.      Defendant offers solutions, such as the “DJI Construction Solution”
14
     (the “Accused System”), flight control system for solid modeling.
15
16         25.      A non-limiting and exemplary claim chart comparing the Accused
17   System to Claim 1 of the ‘598 Patent is attached hereto as Exhibit C and is
18
     incorporated herein as if fully rewritten.
19
20         26.      As recited in Claim 1, a system, at least in internal testing and usage,
21   utilized by the Accused System practices an automatic unmanned aerial vehicle
22
     (UAV) flight control system for solid modeling. See Exhibit C.
23
24         27.      As recited in one step of Claim 1, the system, at least in internal testing
25
     and usage, utilized by the Accused System comprises a UAV with an onboard
26
     camera. See Exhibit C.
27
28
                                                  7
                              COMPLAINT FOR INFRINGEMENT OF PATENT
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 1         28.   As recited in another step of Claim 1, the system, at least in internal

 2   testing and usage, utilized by the Accused System comprises a controller capable of
 3
     communications with a flight control module of the UAV. See Exhibit C.
 4
 5         29.   As recited in another step of Claim 1, the system, at least in internal

 6   testing and usage, utilized by the Accused System comprises a controller which
 7
     determines an initial movement path based on an estimate of a structure to be
 8
 9   modeled. See Exhibit C.

10         30.   As recited in another step of Claim 1, the system, at least in internal
11
     testing and usage, utilized by the Accused System comprises a controller which
12
13   capture images of the structure to be modeled. See Exhibit C.

14         31.   As recited in another step of Claim 1, the system, at least in internal
15
     testing and usage, utilized by the Accused System comprises a controller which
16
17   forms surface hypotheses for unobserved surfaces based on the captured images and
18   determines missing surface information from the surface hypotheses. See Exhibit C.
19
           32.   As recited in another step of Claim 1, the system, at least in internal
20
21   testing and usage, utilized by the Accused System comprises a controller which
22   determines a least impact path for the UAV based on the missing surface
23
     information and desired flight parameters. See Exhibit C.
24
25         33.   The elements described in the preceding paragraphs are covered by at
26   least Claim 1 of the ‘598 Patent. Thus, Defendant’s use of the Accused System is
27
     enabled by the method described in the ‘598 Patent.
28
                                              8
                            COMPLAINT FOR INFRINGEMENT OF PATENT
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 1         34.    A non-limiting and exemplary claim chart comparing the Accused

 2   System to Claim 11 of the ‘833 Patent is attached hereto as Exhibit D and is
 3
     incorporated herein as if fully rewritten.
 4
 5         35.    As recited in Claim 11, a system, at least in internal testing and usage,

 6   utilized by the Accused System is an unmanned aerial vehicle (UAV) system for 3D
 7
     modeling. See Exhibit D.
 8
 9         36.    As recited in one step of Claim 11, the system, at least in internal

10   testing and usage, utilized by the Accused System comprises a UAV capable of
11
     communication with a controller. See Exhibit D.
12
13         37.    As recited in another step of Claim 11, the system, at least in internal

14   testing and usage, utilized by the Accused System comprises a UAV which receives
15
     an initial movement path from the controller wherein the initial movement path is
16
17   based on an estimate of a structure to be modeled. See Exhibit D.
18         38.    As recited in another step of Claim 11, the system, at least in internal
19
     testing and usage, utilized by the Accused System comprises a UAV which captures
20
21   one or more images of the structure to be modeled wherein the one or more images
22   are captured by one or more cameras onboard the UAV. See Exhibit D.
23
           39.    As recited in another step of Claim 11, the system, at least in internal
24
25   testing and usage, utilized by the Accused System comprises a UAV which
26   transmits the captured one or more images to the controller, wherein the captured
27
     one or more images are used to form a surface hypotheses for unobserved surfaces,
28
                                                  9
                             COMPLAINT FOR INFRINGEMENT OF PATENT
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  1   and wherein missing surface information is determined from the surface hypotheses.

  2   See Exhibit D.
  3
            40.    As recited in another step of Claim 11, the system, at least in internal
  4
  5   testing and usage, utilized by the Accused System comprises a UAV which receives

  6   a least impact path for the UAV from the controller, wherein the least impact path is
  7
      based on the missing surface information and desired flight parameters. See Exhibit
  8
  9   D.

 10         41.    The elements described in the preceding paragraphs are covered by at
 11
      least Claim 11 of the ‘833 Patent. Thus, Defendant’s use of the Accused System is
 12
 13   enabled by the method described in the ‘833 Patent.

 14                       INFRINGEMENT OF THE PATENTS-IN-SUIT
 15
            42.    Plaintiff realleges and incorporates by reference all of the allegations
 16
 17   set forth in the preceding paragraphs
 18         43.    In violation of 35 U.S.C. § 271, Defendant is now, and has been
 19
      directly infringing the ‘598 Patent and the ‘833 Patent.
 20
 21         44.    Defendant has had knowledge of infringement of the ‘598 Patent and
 22   the ‘833 Patent at least as of the service of the present Complaint.
 23
            45.    Defendant has directly infringed and continues to directly infringe at
 24
 25   least one claim of the ‘598 Patent and the ‘833 Patent by using, at least through
 26   internal testing or otherwise, the Accused Product without authority in the United
 27
      States, and will continue to do so unless enjoined by this Court. As a direct and
 28
                                                10
                              COMPLAINT FOR INFRINGEMENT OF PATENT
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  1   proximate result of Defendant’s direct infringement of the ‘598 Patent and the ‘833

  2   Patent, Plaintiff has been and continues to be damaged.
  3
            46.    Defendant has induced others to infringe the ‘598 Patent and the
  4
  5   ‘833Patent by encouraging infringement, knowing that the acts Defendant induced

  6   constituted patent infringement, and its encouraging acts actually resulted in direct
  7
      patent infringement.
  8
  9         47.    By engaging in the conduct described herein, Defendant has injured

 10   Plaintiff and is thus liable for infringement of the ‘598 Patent and the ‘833 Patent,
 11
      pursuant to 35 U.S.C. § 271.
 12
 13         48.    Defendant has committed these acts of infringement without license or

 14   authorization.
 15
            49.    As a result of Defendant’s infringement of the ‘598 Patent and the ‘833
 16
 17   Patent, Plaintiff has suffered monetary damages and is entitled to a monetary
 18   judgment in an amount adequate to compensate for Defendant’s past infringement,
 19
      together with interests and costs.
 20
 21         50.    Plaintiff will continue to suffer damages in the future unless
 22   Defendant’s infringing activities are enjoined by this Court. As such, Plaintiff is
 23
      entitled to compensation for any continuing and/or future infringement up until the
 24
 25   date that Defendant is finally and permanently enjoined from further infringement.
 26         51.    Plaintiff reserves the right to modify its infringement theories as
 27
      discovery progresses in this case; it shall not be estopped for infringement
 28
                                               11
                              COMPLAINT FOR INFRINGEMENT OF PATENT
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  1   contention or claim construction purposes by the claim charts that it provides with

  2   this Complaint. The claim charts depicted in Exhibits C and D are intended to
  3
      satisfy the notice requirements of Rule 8(a)(2) of the Federal Rule of Civil
  4
  5   Procedure and does not represent Plaintiff’s preliminary or final infringement

  6   contentions or preliminary or final claim construction positions.
  7
                                 DEMAND FOR JURY TRIAL
  8
  9         52.    Plaintiff demands a trial by jury of any and all causes of action.

 10                                 PRAYER FOR RELIEF
 11
            WHEREFORE, Plaintiff prays for the following relief:
 12
 13         a. That Defendant be adjudged to have directly infringed the ‘598 Patent and

 14   the ‘833 Patent either literally or under the doctrine of equivalents;
 15
            b. An accounting of all infringing sales and damages including, but not
 16
 17   limited to, those sales and damages not presented at trial;
 18         c. That Defendant, its officers, directors, agents, servants, employees,
 19
      attorneys, affiliates, divisions, branches, parents, and those persons in active concert
 20
 21   or participation with any of them, be permanently restrained and enjoined from
 22   directly infringing the ‘598 Patent and the ‘833 Patent;
 23
            d. An award of damages pursuant to 35 U.S.C. §284 sufficient to compensate
 24
 25   Plaintiff for the Defendant’s past infringement and any continuing or future
 26   infringement up until the date that Defendant is finally and permanently enjoined
 27
      from further infringement, including compensatory damages;
 28
                                                 12
                              COMPLAINT FOR INFRINGEMENT OF PATENT
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  1         e. An assessment of pre-judgment and post-judgment interest and costs

  2   against Defendant, together with an award of such interest and costs, in accordance
  3
      with 35 U.S.C. §284;
  4
  5         f. That Defendant be directed to pay enhanced damages, including Plaintiff’s

  6   attorneys’ fees incurred in connection with this lawsuit pursuant to 35 U.S.C. §285;
  7
      and
  8
  9         g. That Plaintiff be granted such other and further relief as this Court may

 10   deem just and proper.
 11
      Dated: April 27, 2020                   Respectfully submitted,
 12
 13                                           /s/
                                              Steven Ritcheson
 14                                           Insight, PLC
 15                                           578 Washington Boulevard #503
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 17                                           swritcheson@insightplc.com
 18                                           ATTORNEYS FOR PLAINTIFF
 19
 20
                                              Together with:
 21
                                              SAND, SEBOLT & WERNOW CO.,
 22
                                              LPA
 23
 24                                           Howard L. Wernow
                                              (pro hac vice forthcoming)
 25
 26                                           Aegis Tower - Suite 1100
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 27                                           Canton, Ohio 44718
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                                              13
                              COMPLAINT FOR INFRINGEMENT OF PATENT
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                          COMPLAINT FOR INFRINGEMENT OF PATENT
